                     IN THE UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                             CHARLOTTE DIVISION

 UNITED STATES OF AMERICA,                            )
                      Plaintiff,                      )
                                                      )
 vs.                                                  )     CASE NO. DNCW3:05-CR-277-8
                                                      )     (Financial Litigation Unit)
 SHAWN HOWIE                                          )
                               Defendant,             )
                                                      )
 and                                                  )
                                                      )
 YELLOW ROSE CAFE & BILLIARDS,                        )
                      Garnishee.                      )


             DISMISSAL OF ORDER OF CONTINUING GARNISHMENT

       THIS MATTER IS BEFORE THE COURT on Plaintiff’s “Motion For Dismissal Of

Order Of Continuing Garnishment” (Document No. 753) filed June 5, 2015 for the reasons stated

therein and for good cause shown,

       IT IS, THEREFORE, ORDERED that Plaintiff’s “Motion For Dismissal Of Order Of

Continuing Garnishment” (Document No. 753) is GRANTED, and the Order of Continuing

Garnishment filed in this case against Defendant Shawn Howie is DISMISSED.




                                            Signed: June 7, 2015




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